            Case 1:21-cr-00175-TJK Document 286 Filed 02/08/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          *
                                                  *
       v.                                         *    CASE NO: 1:21-cr-0175-3 (TJK)
                                                  *
ZACHARY REHL,                                     *
         Defendant                                *


                                  ********
              MOTION TO ADOPT MOTION OF CODEFENDANT NORDEAN

       Zachary Rehl, by his undersigned counsel, hereby respectfully moves for leave to adopt the

Motion filed by Ethan Nordean on December 29, 2021 as well as Mr. Nordean’s Reply filed on

February 2, 2022 to the Government’s Response in Opposition (ECF 283).

       1.       The above-noted Motion and Reply were filed Under Seal as they relate to “highly

sensitive” discovery produced subject to the Protective Order at 3, ¶4(d) (ECF 83). Accordingly,

counsel is not aware of their corresponding ECF numbers.1

       2.       Mr. Rehl seeks to join and adopt the legal arguments made and relief sought in said

motion and reply. all motions filed by co-defendants unless he moves not to adopt and join a

particular motion.

       3.       Mr. Rehl also seeks leave to supplement said motions with legal arguments and

particularized facts pertinent to Mr. Rehl, once counsel has completed reviewing the discovery

relevant to the issues presented in the motion.




       1
         Out of an abundance of caution, as the Motion was filed Under Seal counsel has not made
reference to the title of the Motion.
             Case 1:21-cr-00175-TJK Document 286 Filed 02/08/22 Page 2 of 2




        4.       Proceeding in this fashion will promote the just determination of the case, simplify

procedures and eliminate unjustifiable expense and delay in accordance with Rule 2, FED . R. CRIM .

PROC.

                                                       Respectfully submitted,

                                                       /s/

                                                       Carmen D. Hernandez
                                                       Bar No. MD03366
                                                       7166 Mink Hollow Road
                                                       Highland, MD 20777
                                                       (240) 472-3391



                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing was served via ECF on all counsel of
record this 8th day of February, 2022.


                                                       /s/ Carmen D. Hernandez
                                                       Carmen D. Hernandez




                                                  2
